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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 SECURITIES AND EXCHANGE
 COMMISSION,
                                                           Civil Action No. 1:23-cv-01599-ABJ
                          Plaintiff,

         v.

 BINANCE HOLDINGS LIMITED, et al.,

                          Defendants.


        MOTION FOR ADMISSION OF CHRISTIAN KEMNITZ PRO HAC VICE

       Pursuant to Local Rule 83.2(d), Robert T. Smith, a member of the bar of this Court,

hereby moves that Christian Kemnitz be granted leave to appear and practice pro hac vice in

these proceedings on behalf of BAM Trading Services Inc. and BAM Management Holdings

US Holdings Inc.

       In support of this motion, Movant states as follows:

       1.         Mr. Kemnitz’s full name is Christian Todd Kemnitz.

       2.         Mr. Kemnitz is a licensed attorney practicing in the Chicago office of the law

firm Katten Muchin Rosenman LLP, 525 West Monroe Street, Chicago, Illinois 60661,

telephone number (312) 902-5200.

       3.         Mr. Kemnitz is a member in good standing of the Illinois bars.

       4.         Mr. Kemnitz has not been disciplined by any bar and there are no pending

disciplinary proceedings against him in any bar. He is not currently disbarred in any court, and

he has not been denied admission to the courts of any state or any court of the United States.

       5.         Mr. Kemnitz has been admitted pro hac vice in this Court zero times within the

last two years.


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       6.      Mr. Kemnitz does not regularly practice law from any office located in the District of

Columbia and is not a member of the DC bar.

       7.      A declaration signed by Mr. Kemnitz, certifying the foregoing information, is

attached hereto.

       WHEREFORE, Movant requests that Christian Kemnitz be granted leave to appear and

practice pro hac vice on behalf of the Defendants BAM Trading Services Inc. and BAM

Management Holdings US Holdings Inc. in the above captioned matter.


Dated: December 8, 2023                       Respectfully submitted,


                                                /s/ Robert T. Smith
                                                Robert T. Smith, D.C. Bar # 996033
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